             Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 1 of 55 Page ID #:1
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      ~~l~~lE-T' ~~, ~,4~ ~ ~r~l~=R, ~
      FULL NAME


      COMMITTED NAME (if different)                                                           {'~?~ ~i~=~ 26 P~ I ~ 23
      ~AN~'~4 Ant~T~+~i r~ .~* ~
      FULL ADDRESS INCLUDING NAME OF INSTITUTION                                                  CEkTR~L Gl~T tf3r C;Lli=.
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     aAnrr~ ~4nlA ,C i! qL7~~
      PRISON NT.IMBER (if applicable)




                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                      C SE         ER         ~                             _ ~„r ~~C~K 1
                                                                       Sa                      To b   surr   ed   th   le
                                                                                                                                w
                                                       PLAINTIFF,
                                 ~'                             CIVIL RIGHTS COMPLAINT
             rJlf~~}~~~ Sr'i ~~~~ ~~'~~'`                           PURSUANT TO (Check one)
        ,~   ~~J ~F Q~ISD~IS Et.A L •                 ❑ 42 U.S.C. § 1983
                                        DEFENDANT(S). ~
      14         I~~Affil 'iEL t~QE - Ll4 ~ ~.q ~       Bivens v. Six Unknown Agents 403 U.S. 388(1971)

    A. PREVIOUS LAWSUITS

           1. Have you brought any other lawsuits in a federal court while a prisoner:      Yes       ❑ No

           2. If your answer to "1." is yes, how many?     (3f~
                                                             '  C

               Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
               attached piece of paper using the same outline.)

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                                                        CIVIL RIGHTS COMPLAINT
    CV-66 (7/97)                                                                                                              Page I of6
       Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 2 of 55 Page ID #:2


          a. Parties to this previous lawsuit: ~~~~-~ ~~~ r y~ ^ `~(~~~~~ a~~~ ~~L~~
             Plaintiff                         ~          l/~~ ~~ 1      ~ 3~

               1i- KA~~~'~S
               Defendants~~1~~I~iL~ ~CO/1~11


          b. Court 1~~~~                tTQ~~'~J,~~


               Docket or case number
          d. Name ofjudge to whom case was assigned ~a ~~E ,~F~C1 ~~
          e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?) ~7>SN11~S~~ ~ (,12a ~((~I l-f~}I/~` ~~'~~ c~'1~1 ~~~~~~'
          f. Issues raised: ~ X51-1-~. ~~~,7~~QEME~.f WlcfZE A~~ ~(`~~ ~~-LQ~~)2



          g. Approximate date of filing lawsuit:~D I ~P
          h. Approximate date of disposition


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

     1. Is there a grievance procedure available at the institution where the events relating to your current complaint
        occurred? ❑Yes I$'1 No

     2. Have you filed a grievance concerning the facts relating to your current complaint?             .Yes      ❑ No

          If your answer is no, explain why not x ~`1~ t~~ ,[~~~I~ ~'{"~G ~7~~►t//`f~i~riL~`~ ,~ l~~ ~ ('lf%
           ~~i c,~R.f ~~~ ,~~-=Rr_~~s~U~ a~~ n~o~ JN~~2sr~l~ ~~~i~vG~sr
          t~~ S~~L►~~N~T~~N~1 TO THE /~I~1~`f" L~✓~L-
     3. Is the grievance procedure completed? ❑Yes           ~-No

          If your answer is no, explain why not Nt~ Y~G~ ~~~~ ~~~~ l G ~~(~~5~~"/'~1`~~



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

     This complaint alleges that the civil rights of plaintiff     ~=~~~T~ 1~ ~~N ~ ~~C~ ~T
                                                                                        (print plaintiffs name)

     who presently resides at ~~~( r~ /~/U l~ ~g-TL N~ `~8 i f~ '~~ ~C 2Z-OQ~ S~I`fdr A-(~~, /N qZ7~?Z
                                                            (mailing a ress or p ace o ~c   inement)

     were violated by the actions ofthe defendants) named below, which actions were directed against plaintiff at
IBS ~~~.55~~1~5 ~~P`v'~e~ T~j~R~  ~~~~TC F~~t-, ~E►~~N/,~~~-rt-i ms s_ ~Vlv~-~-fit SA~I'~'~iv~
                           (inshtutio~ty~i~ion                              occurre)   ~lt~(-
                                                ~ip Fr
                                                    CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                             Page 2 of 6
      Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 3 of 55 Page ID #:3



     on (date or dates) ~0/ ~                                   2~ ~ ~                       ~.~z-~
                                    ( aim I)                             aim II)            ~Z~im III)

     NOTE:      You need not name more than one defendant or allege more than one claim. If you are naming more than
                five (5)defendants, make a copy ofthis page to provide the information for additional defendants.

     1. Defendant ~ ,) ~ F~ ~~Sl~~i~S ~~12~-*~ ~%                          ~~~~—                           resides or works at
                     name o `~irst3e~'en ant
                    ~Ll~r4-C. f~~'f-RIG-f 0~ G14f.-~-~OR~~I~~ 4 101t~IS~-S
                    (full address of first defendant)


                    (defendant's position and~titsme,i~`any)`


         The defendant is sued in his/her(Check one or both): ❑individual              ~-official capacity.

         Explain how this defendant was acting under color of law:
         ~ {~/'~ ~~W Mp,l~c~ ~vl~9h~ y -rz►~Es        rt. ~~1 ~~c ►~~--F ~ wi ~-~~~C-
         ~-~- ~_~f~1-,Mr ~ s Q~, ~I~NG M~O~/~ir,1.S ~Z~I-~~ `~~ /~~f('~- Tl~ ~~~J~~e rH~ v~~ff

     2. Defendant      ~   ~f~~ ~ ~ G -~ ~~1S~f ~~ , ~~~, ~ L ~                                            resides or works at
                     ~u name o '~us~e~'en ant

                    `T~~~R~ rtfl~~ Tl~!'l~~l~i9
                     (full address of first defendant)

                      vVlF~~G~ SSTim
                     3ef'en~s
                            prtto~t'i~i any)

         The defendant is sued in his/her (Check one or both): ❑individual             f$Lofficial capacity.




    3. Defendant 5~~1~~~ /~3'1~,~ 3P~~-'~~~ir1 C~"~C                               CT A L                  resides or works at
                    (
                    ~iil     ~first de en ant)

                                    l/~-                                                                  ~'Z 7D Z.
                    ( 11 address of first defendant)

                                       LgTfl~~

        The defendant is sued in his/her(Check one or both): ❑individual '~ official capacity.

                how this defendant was acting under color of law:




                                                         CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                               Page 3 of6
      Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 4 of 55 Page ID #:4



     4. Defendant                                                                                  resides or works at
                    (     name o first e en ant)


                    (full address of first defendant)


                    ( e en ant s position an tit e, i any)


         The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant                                                                                   resides or works at
                    (full name of first defendant)


                    (full address of first defendant)


                    ( e en ant s position an tit e, i any)


         The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

         Explain how this defendant was acting under color of law:




                                                        CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                       Page 4 of6
           Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 5 of 55 Page ID #:5


  D. CLAIMS*
                                                               CLAIM I
         The following civil right has been violated:
           ~ rt~hl~ ~1UT N ~~ QRUR~(Z wl~~zc r9 ~ ~R~~'C"rvi ENS ,~~.~t~t~~
                N GE~N('~ ,,.;~~5~: Ash ,~.~Rs~ .~~c~~sE ~ r~~ ~r~ ~k~d~ ~t-c; ~~(5 ~R~-~r~i ~vti~~
       ~ ~'.~~£~G~ J~S~o~! FRTjw~ ~P~~J~JS i~l~~Y .
     ~ ~~ -c-o t~hJc%~E~.1T(/,~t:=s ,M ~b E f~~~ N VF✓~ ~~~r ~ C-~},l~ nlC~ `b/1~v, ~i C~ ~ "T~


     `     "t rtr~,J~ ~i ~F~ ~EU~r~ Q~N ~~ v~~ 5'fb~drG'~ ~Y►~ N~L-~ ►~'~ ~~~G CRY ~rrJ ~r~
                Q~v~I.E~ ~~LM -~ Q`2~~l~o~s =cIS~RY ~~h ~~~ rM~~~ `~5'J~.~ ~,•~,~
          A ~ ~~ N ~rrr~'r ~.~ ~ s ~-~- ~~.~f~




         Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
         citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
         TIFFFNTIANT (hv namal rlirl to vinlata ~iniir right




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         *If there is m                   describe the additional claims) on another attachedpiece ofpaper using the same
         outline.


                                                        CIVIL RIGHTS COMPLAINT
 CV-66 (7/97)                                                                                                         Page 5 of 6
Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 6 of 55 Page ID #:6



Kenneth Wayne Fisher




2015 I was brought under the Marshalls care in Bentonville Arkansas

2016 I was seen by the medical staff at Beaumont U.S.P where I was put on a waiting list to have
dentures made and seen by the optometrist

2016 I was transferred to Terre Haute U.S.P where I was still waiting for my number to come upon the
waiting list for dentures but was seen by another Eye Doctor at the facility, I was deemed to need a
surgery to have the lens of my eye replaced from a prior injury, I went outside of the facility to a
Doctor's office and had several tests performed where the prognosis was surgery. I agreed that I was
comfortable in having the operation done and there was an appointment to be made, I of course could
not be told the day for security purposes. As time went on I started asking about if I was getting close,
after many months I was transferred to another facility.

2017-18 At this new facility I was told that someone made a clerical error and the appointment was
never set. While having to start this process all over again I was transferred to Kansas to be charged in
another district for a new crime. I was in Kansas for 14 months and was fighting to get the Marshalls to
a pprove my surgery, they even got a firm speaking to from the judge there saying don't let a 1983 come
across my desk on this. I was sentenced and sent back to my facility in Louisiana and was brought to
medical

2019 I was back in my Louisiana facility and brought up to medical where I was informed that I needed
to go get a CT scan done due to the material that was implanted inside of me during a previous surgery
where I had emergency surgery from a stab wound. She said the CT scan would come back negative but
by their policy they had to do this first before I could get an ultra-sound done that would probably not
show much but I needed to see a surgeon and this is the process. I have been complaining about
a bdominal pain, where Doctors said it's just something I had to deal with, that I had been through a
serious event and there's nothing that can be done. Now there's something that can be done and that's
the process. I was shipped to LA

2019-20 I was seen in MDC-LA where I was seen by yet another set of medical staff, the doctor there
saw that I had to have a CT scan done and I explained the situation to him. I was also called to dental
where the dentist said I needed to have an examination done for the assessment needing dentures
Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 7 of 55 Page ID #:7



done. He said this probably won't happen there because that kind of thing will be taken of at my facility.
Well I was at the top of the list, the national list, to have dentures made, and he started the process.
Meanwhile the doctor I saw about my stomach, discarded the information I gave him because several
months after going to get the CT scan done, I caught him in the unit I was in and he said the scan
showed negative. I reminded him about the conversation I had with him about the process I was going
through in the facility I came from. He said he would try to get it approved again, then several months
later said it didn't go through. I filed the proper paper work and waited months. I kept asking the
medical staff about my medical situation and got nowhere. I caught my unit manager and asked her
a bout the forms I filed. She said I have to file new ones the other ones must have got lost. The medical
staff kept telling me that while I was in the S.H.0 I had to be there for a year before I could have any
routine medical treatments done, that that was their policy. I filed the paperwork to the regional
director and then one of the medical staff came up to the cell I was in and told me,'sometimes even
doctors make the wrong call, and in my case the doctor made a bad call and I got approved to go to the
general surgeon to figure out what was next. At the same time the assistant warden came to my cell
with the LT> of the special housing unit and said they were going to take care of my medical needs that
the paperwork I filed came back approved, even the dentist told me I would be taken down to get the
rest of the process done to make my dentures. I literally got shipped out of the facility the next day and
brought to the Santa Ana jail.

2020 here in the Santa Ana jail I was told I had to start all over again and that they don't have a general
surgeon on their payroll and that I had to start all over because the BOP facility I was in in Los Angeles
wouldn't send my medical records. I have been sent to a GI doctor because I filed a grievance on medical
and the NP was furious at me for filing this paper. I filed it because no one came to see me before I went
to the ultra sound and the special instructions were wrong, they said to look at my pelvis area?
Completely wrong area. The NP was yelling at me to pick either the GI doctor that they had or the
general surgeon who they don't have? I am not seeking drugs for the pain all I want is to be fixed.
Although I have filed many grievances and not getting results, or when I am unhappy with the results
say I want them pushed forward, I get the grievance back saying I refused to sign. So the grievance
process is useless.
       Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 8 of 55 Page ID #:8


 E. REQUEST FOR RELIEF




                                   lL
               (Date)                                    (Signature ofPlaintiff




                                    CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                      Page 6 of6
     Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 9 of 55 Page ID #:9


                                               SANTA ANA JAIL
                                                  INMATE REQUEST FORM

BOOKING # / NUMF.RO DE PRESO #: ~~~v~~ ~~7~ JID#: Y- 2~~
                                                       ` -~'_I_— CELL # / CELDA #: _~- __ .

LAST,FIRS"TNAME / APELLIDO,PRIMER NOMBRE: _~-+7~~-                                ~E~I~I~~~_

MODUI.F./MODULO: 3A ❑ 3B ❑ 3C ❑ 3U ❑ 4A ❑                                4I3 ❑     4C'~~     4D ❑     4E ❑       llH 1 ❑      DH2

NOTE: For Jail issue exchange bring items to the officer for inspection. Only worn out items will be exchan~=ed.(Si pile: inter~;ambio
de articulos. presence articulos al official Para inspeccionarlos. Solo articulos daiiados reran reemplazados.

NATURE OF REQUEST!AStJNTO,PF.TICION: .—t—                        .1~~~"`r l ~~~ ~                                            ~




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                                                TO QE CO~~IPI I"I'FD I3Y M~p.111 E OFFICER


ACCEPTED / APROBAllO ❑                          DENIED!NEGADO


                    MODULF OFFICER UNABLI~:TO COMPLETE REOUCST~FORWARD T'O

PROPERTY/ VAULT#               ❑                CLASSIFICATION          ❑                     SECURITY         ❑

RECORDS                        ❑                PROGRAMS                ❑                     MAIL             ❑

SHIFT SUPEKVISOR               ❑                SPECIAL PROJECTS ❑                            OTHL:R: _


WHAT ACTION'I'AKEN / RESOLUCION:

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OFFICER SIGNATURE                        BADGE #                INMATE'S SIGNATiJRE /FIRMA                   DATE / FI,CHA

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CLOTHING ISSUED / ARTICUL.OS EN'I'REGADOS                         ❑   APPROVED / APROBADO ❑                  O'TH~R / O'['RO

OUT OF STOCK/RE-SUBMIT / VUELVA A SOTICITAR ❑                         DENIF_.0 / NEGADO              ❑

RESPONSE TO REQUEST / RESPUESTA:


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CO /SUPERVISOR SIGNATURE                   ~3ADGE #
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    Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 10 of 55 Page ID #:10


                                              SANTA ANA JAIL
                                                 INMATr RF.QULST FORM

BOOKING # / NUMERO DE PRESO #: ='_ ~ '' " ~' ~ r                ~        .IID#: P- _                          ___ CELL.# / CELDA #: _ _

LAST,FIRST NAME / AYELLIDO.PRIMER NOMBRE: ____ ____                                   _   ____-

MODULE /MODULO: 3A[~ 3B ❑ 3C ❑ 3D[~ 4A[~                                  4I3 C] 4C U             4U[_~        4F ❑       UH I ❑    DIi2[__]

NOTE: For Jail issue exchanbe bring items to the o11'icer for inspection. Only worn nu[ items will he exchan~~ed.(Si pile intercambio
cie articulos, presente articulos al official pars inspeccionarlos. Solo articulos danados seran reemplazados.

NnTURE OF REQUEST / ASUNTO.PETICION:                                                                      Q     ~~    _
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WHAT ACTION TAKEN / RESOLUCION:                          ,.         ,




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        Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 11 of 55 Page ID #:11

                   NAPHCARE MEDICAL DEPARTMENT                                                                                Date and rime Received `Received sy
              SICK CALL REQUEST-MANAGED BY TECHCARE                                                                            `~ i~r~ ~t ~~ ~z_ , ~;,.ti~> ~'>>.'
 Name(Nombre)                                Date of Birth         Location/Unit                                             Inmate Number                           Toda~s Date (Edad)
  ~~'°~ ~-~~~~,                              (Fecha de Nacimiento) (Posicion/Unidad)                                        (Recluso numero)                                      ~ -
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Complaint(Enfermedad) n                             r                                                           ~
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 w Action ~ : Refer to Provider =Sick Call; ~ Refer td MH —Sick C~II;     ~ Refer toV~%I H —Chart Reuiew
 ~ Taken [ ° defer to Medical Records; ~ Refer td OB/GYfV;                ~ Refer to Dental
 ~ ~      '_ Refer to Optometry;            ~ Nursing Protocol Initiated 'J ether.

Face to Face date                        Face #n Face ~'ime                                     Staff Signature
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O:                        Temp                          Pulse                                   Resp                         02 Sat              B/P




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Nurses /Provider Sf~nat~re                                                                            Date Completed                         Time Completed
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Jan 2019                                                       White -Chart                Canary -Inmate                                        Sick Call Request- Bi Lingual
                Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 12 of 55 Page ID #:12

                              NAPHCARE MEDICAL DEPARTMENT                                                                                                                            Date and Tirtte Received' Received By

                         SICK CALL-REQUEST-MANAGED BY TECHCARE                                                                                                                       ~t~r ~~~,-~~,i t ~ ~ ~~ - ~                          ~ ~~ , ~, , .
Name(Nombre)                                                                 Date of Birth         Location/Unit                                                           Inmate Number                                         Today's Date (Edad)
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Complaint(Enfermedad)
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 ~,,,     Action ~ Refer to Provider= Sick Call; ~l Refer to NSH -Sick Call;   ❑Rifer MH -Chart Review
 a        Taken ~ Refer to Medica# Records;         Refer to OB/GYt~;          ~ Refer to Dental
 ~               ~ Refer to Optometry,            ~ Nursing Protocol Initiated ❑ether:

Face to Face date                                                       Face far Face Tithe                                        Staff Signature

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N urses /Provider Signature                                                                                                              Date Catnpleted'                                                  lime Cotnple#ed

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Jan 2019                                                                                         White —Chart                     Canary —Inmate                                                                 Sick Call Request — Bi Lingual
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 13 of 55 Page ID #:13

                          NAPHCARE MEDICAL DEPARTMENT                                                                                                             Date and Time Received                             Received By
                     SICK CALL REQUEST-MANAGED BY TECHCARE
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 ,~,     Action '! Refer to Prov~der~—Sick Call; DReferto MH~~SickCall;           ' Refer to MH~~,~Chart Reui~w
 Q       Taken C~ Refer to Medical Records;        Refer to Q$JGYN;             .~ Refer to pental
 F              I~ Refer to Optometry;           J (pursing Protocol .Initiated I~ Qther. _

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      Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 14 of 55 Page ID #:14

                NAPHCARE MEDICAL DEPARTMENT                                                                       Date and Time Received                 Received By
           SICK CALL REQUEST-MANAGED BY TECHCARE                                                                      ~ ~.'3~,~. 1 G~ ~ `~~~,~               `~r~-
 Name(Nor pre)                         Date of Birth         Location/Unit                                      Inmate Number                Today's Date (Edad)
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Complaint(Enfermedad)                      1
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 w   Action ~~' Refer to Provider —Sick'Cal(; Q Refer to MH -Sick Call;    ❑Refer MH —Chart R~vieW
     Taken [J Refer to Medical t~ecords; :~ Refer to OBjG7N;               CI Refer to gental
 ~          ~- Refer to Optometry;            t~ Nursing Protoco~lnitiated ❑Other:

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Jan 2019                                         White —Chart              Canary —Inmate                                       Sick Call Request — Bi Lingual
         Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 15 of 55 Page ID #:15

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                     SICK CALL REQUEST-MANAGED BY TECHCARE                                                                                                            ~{`~~ r~faJ
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Complaint (Enfermedad)
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u, Action ''~ Refer to Provider —Sick Call; ❑ Refer to MH -Sick Call;                                                                                      R~~~r to M H —Chart Review
~ Taken       Refer to Medical Records; ` ~ Refer to OBjGYN;                                                                                               Refer to bental
~         - Refer to Optometry;             ~ Nursing Protocol:Initiated                                                                                   Other.

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Jan 2019                                                                 White —Chart                          Canary —Inmate                                                               Sick Call Request — Bi Lingual
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 16 of 55 Page ID #:16

                         NAPHCARE MEDICAL DEPARTMENT                                                                                                                Date and Time Received Received By
                    SICK CALL REQUEST-MANAGED BY TECHCARE                                                                                                               ~ '~              ~ ~~"~"                  ~~ `~-
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,,, coon I~ Refer to Provider'- Sick CaN; ❑ Refer to MH —Sick Call; 0 Refer to H —Chart Review
 Q Taken [' Refer to Medical Records; ~ Re#er to OS/GYN;               Q Refer to Denial
~        ❑._.Refer to Optometry;            Nursing Protocol Initiated ~ ether.

Face to Faye Date t                                      Face to-Face Time                                            Staff Signature
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        Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 17 of 55 Page ID #:17

                      NAPHCARE MEDICAL DEPARTMENT                                                                    Date and         ime Received        Received By
                 SICK CALL REQUEST-MANAGED BY TECHCARE                                                                 ~ ~~ `}
 Name(Nombre)                                        Date of Birth        Location/Unit                         Inmate Number                      Today's Date (Edad)
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 Complaint (Enfermedad)
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 ~ Action i Refer tp Provider -Sick Call; ❑ `.Refer to MH -Sick Call;    ~ Refer tp MH -Chart Review
 ~ ; Taken -Refer to Medical Records; ~J Refer #o OB/GYN;                ~ Refer to Dental
 ~'        I ~ Refer to optometry;        0 (Vursir~g Protocol Initiated ~ Other.

Face to Face Date                              Face tofate Time                       Skaff Signature


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Jan 2019                                                    White -Chart            Canary -Inmate                                    Sick Call Request - Bi Lingual
        Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 18 of 55 Page
                                                                           G.I.#: ID~~._#:18
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                                            SANTA ANA JAIL -INMATE GRIEVANCE FORM                                                                                                      ~~~-~ ~~ ~ V
    DATE/TIME GRIEVANCE RECEIVED:                        /                                                       REVIEWING OFFICER NAME/BADGE#: __ _____ __________ ___ __
INMATES NAME: ~- `'   ~ `—"-    r ,"- ,'i—' -'—' —,                                                                   DATE/TIME: -_  •: - ~ I.—_ __----------- --- ---
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        SECTION 1: CHECK THE BOX NEXT TO THE.INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
        ~, MEDICAL CARE                                                                                                       ❑ TELEPHONE USAGE
        ❑ CLASSIFICATION ACTION                                                                                               ❑ MAIL
        ❑ DISCIPLINARY ACTION                                                                                                 ❑ VISITING
        ❑ PROGRAM PARTICIPATION                                                                                               ❑ FOOD SERVICES
        Q OTHER (SPECIFIC                          .~, -~~ - ~                     ~                 ~''i                     ❑ COMMISSARY

GRIEVANCE                   (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE SHEET OF PAPER)

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                                                                     SHIFT SUPERVISORS RESPONSE AND/OR ACTION




SHIFT SUPERVISORS SIGNATURE:                                                                                                                 ___ /# _                        DATE/TIME: _              ________ _
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                            DATElTIME:                                                          _

                                                GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:                                                                                    ______/# ____                                                   DATE/TIME: _______.___~______ _
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                  DATE/TIME:

                                  GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
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INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                  DATE/TIME:

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                       Case 8:20-cv-00603-MWF-KK
                            -.                   Document 1 Filed 03/26/20 Page 19 of 55 Page ID #:19
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                                                                   SANTA ANA JAIL -INMATE GRIEVANCE FORM
                 DATEJTIME GRIEVANCE RECEIVED:                                                                          _/__                              REVIEWING OFFICER NAME/BADGE#:
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                 ❑ CLASSIFICATION ACTION                                                                                                                                     ❑ MAIL
                 ❑ DISCIPLINARY ACTION                                                                                                                                       ❑ VISITING
                 ❑ PROGRAM PARTICIPATION                                                                                                                                     ❑ FOOD SERVICES
                 ❑ OTHER (SPECIFY)                                                                                                                                           ❑ COMMISSARY

  GRIEVANCE                                       (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE SHEET OF PAPER)_
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 SHIFT SUPERVISORS SIGNATURE:                                                                                              _                _                                                  ./# ____                    DATE/TIME: ____~_____
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 GRIEVANCE AND HEARING
 SUPERVISOR SIGNATURE:                                                                                                                                     /#                                               DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE:                                                                                 _                                                                _ ___ _____ ___ DATE/TIME: _._________                                      _ ____
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 20 of 55 Page ID #:20

                        NAPHCARE MEDICAL DEPARTMENT                                                                         Da#e and Time Received.: Received By
                   SICK CALL REQUEST-MANAGED BY TECHCARE                                                                    ~~         ~ ~ ~ ~7 ~ '"~                     ~i~ ~"     F
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  ,,,,        Action C Refer to Provi~}er - Sick'Call; Cl Refer to MH -Sack Call;    ❑ Re~~~`~to MH -Chart Review
              Taken i _i Refer to Medical Records;        Refer to OB/GYN;             Refer to p~rttal
                     -' Refer to Optometry;            ~~ Nursing Protocol Initiated ~ Other.

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Jan 2019                                                           White —Chart      Canary —Inmate                                          Sick Call Request — Bi Lingual
      Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 21 of 55 Page ID #:21

                  NAPHCARE MEDICAL DEPARTMENT                                                                              Date and Time Received             Received By
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              SICKCALL REQUEST—MANAGED BY TECHCARE                                                                          ~ ~'f~ ?       ~~1~~''~~,;            ~*_
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Complaint(Enfermedad)                                                                                                                                                              1
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w     Action ' l Refer to Provider —Sick Call; p Refer to MH -Sick CaII;      I Refer- fio H —Chart Review
a     Taken "- Refer to Medical R~Gords; 7 Refer to OBJGYN;                  I Refer to Dental
~            -~ Refer to Qptametry;            ~ Nursing Protocol Initiated ~ Other.

Face to Face DaEe                               Face to Face Time                           Staff Signature

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Jan 2019                                                        White —Chart               Canary —Inmate                                 Sick Call Request — Bi Lingual
        Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 22 of 55 Page ID #:22

                  NAPHCARE MEDICAL DEPARTMENT                                                                                    Date and Time Received                         Received By
             SICK CALL REQUEST-MANAGED BY TECHCARE                                                                                       ~         ~ ~. ~           ~ . --, .~:~ E                ~'
Name(No,mbre)                                  Date of Birth         Location/Unit    Inmate Number                                                                 Today's Date (Edad)
   ~ ~t~~~ ~ ~~ `~                            (Fecha de Nacimiento) (Posicion/Unidad) (Recluso numerQ~ „                                                                                          I
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Complaint(Enfermedad)              /~                  F    l                         ,~          /                                  l             1               //
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                                                                                                                     In       to Signature (Rec~Lso firma)


 ~      Actian C'~ Refer to Provider -Sick Call, C Refer to MH -Sick Call;     I ~ Refer MH -Chart Review
 a      Taken G Ftefer to Medical Records 'a Refer to OBjGYN;                  ~_I Refer to Dental
 ~             C! Refer to Qptorhetry            [7 Nursing Protocol Initiated U Other.                                                                                                       ~

Face to iFace Date                       Face t3 Fate Tirtie'                                 Staff Signature
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Nursing
S:



0:                        Temp                             Pulse                              Resp                              02 Sat                 B/P



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Nurses /Provider Signature                             t    `                                         Dafe ~ empl ed                               time Co~ple~ed



                                                                           For Jail Use Only




Jan 2019                                                     White —Chart                 Canary —Inmate                                               Sick Call Request — Bi Lingual
    Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 23 of 55 Page ID #:23


                                              SANTA ANA JAIL
                                                 INMATE Rl?QUI;Sl FORM

 BOOKING # / NUMERO DE PRF.SO #:             _                   ____.— JID#: P-            __-_ ___     —_ CELL # / CI:LDA #: ___
 LAST,FIRST NAME / APELLIDO,PRIMER NOMI3R~, '~

 MODULE /MODULO: 3A ❑ 3R ❑ 3C ❑ 3D ❑ 4A ❑                                     4I3 ❑    4C[~     4D ❑     4C ❑        DH l[~          DF{? LJ
 NOTE: For Jail issue exchanbe brim items to the officer for inspection. Only worn out items will be exchxn~ed.(Si pide intercambio
 de articulos, presen[e articulos al official para inspeccionarlos. Solo articulos danados reran reempl~zados.

 NATURE OF REQUEST / ASUNTO.PETICION: ~~
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 WMATF,S'S ,~IUNAPURE /FIRMA                                                                                  DATE / FI~:CF{A

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ACCEPTED / APROF3AD0 .~ ,%                    DENIED / NEGADO ❑

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PROPERTY/ VAULT'#              [~             CLASSIFICATION            [~                       SI:CURI'TY
RECORDS                         ❑            PROGRAMS                    CJ                      MAIL.          ❑
SHIFT SUPERVISOR                ❑            SPECIAL PROJEC"TS ❑                ~                O`fHER: __      _             __________________

WHnT ACTION TAKEN / RI~OLUCION:
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CLOTHING ISSUED / ARTiCULOS ENTREGADOS                          ❑      APPROVEll / APROBADO ❑                 OTHER / OTRO
OUT OF STOCK/RE-SUBMiT / VULL,VA A SOLICITAR ❑                         llF.NIED / NEGAllU
RESPONSE TO REQUEST / RESPUESTA:




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CO./SUPERVISOR SIGNATURE               F3AllGE #         INMATES SI(iNATCJRE / 1^'IRMA                        DATE / FECHA
                   Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 24 of 55 Page ID #:24
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                                                           SANTA ANA JAIL -INMATE GRIEVANCE FORM
                  DATE/TIME GRIEVANCE RECEIVED:                                                        _/_                          REVIEWING OFFICER NAME/BADGE#:
     INMATES NAME: r -                                d:                                                                             _ DATE/TIME: _              _     ;_____
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                  stu i wry i s crttcK i rit rsox NEXT TO THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
                  ❑ MEDICAL CARE                                                                                                                   ~ TELEPHONE USAGE
                  ❑ CLASSIFICATION ACTION                                                                                                          ❑ MAIL
                  ❑ DISCIPLINARY ACTION                                                                                                            ❑ VISITING
                  ❑ PROGRAM PARTICIPATION                                                                                                          ❑ FOOD SERVICES
                  ❑ OTHER (SPECIFIC                                                                                                                ❑ COMMISSARY

     GRIEVANCE                      (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE SHEET OF PAPER)
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 INMATES ACKNOWLEDGING SIGNATURE:                                                                                             ~~                   ~'. DATE/TIME:

                                                                                  SHIFT SUPERVISORS RESPONSE AND/OR ACTION
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 INMATES ACKNOWLEDGING SIGNATURE:,'                                                                              -          — -           ~'            DATE/TIME.           ~~ ~ ~~ G (                 ~
                                                            GRIEVANCE AND                                        OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:                                                                                _                                      /#                     ____ ___ DATE/TIME: ________ ___ _
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                        DATE/TIME:
                                             GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:                                                                                                                /#                                 DATElTIM E:


INMATES ACKNOWLEDGING SIGNATURE: __                                                                        _____                                          _______ _ DATE/TIME:                               _                 __
               Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 25 of 55 Page ID #:25
                                                                                                                                                                                        G.I.#:

                                                    SANTA ANA JAIL -INMATE GRIEVANCE FORM
        DATElTIME GRIEVANCE RECEIVED: ____/__                                                                             REVIEWING OFFICER NAMEJBADGE#:
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    INMATES NAME: ~.:::~~, , f_.,,-=~`~            --                                                                       DATE/TIME. _- ''' `       --      ----                                           ----- ------
    BOOKING #: ~`'~(1;J~f`' 2~ 7 -~     P # ~= ~ `~~t 'E° ~ ~                                                               HOUSING LOCATION: ~-         ` ~ - ~ ~ t ~~ `--
          SECTION 1: CHECK THE BOX NEXT TO-THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
             MEDICAL CARE                                             ❑ TELEPHONE USAGE
        ❑ CLASSIFICATION ACTION                                                                                                       ❑ MAIL
        ❑ DISCIPLINARY ACTION                                                                                                         ❑ VISITING
        ❑ PROGRAM PARTICIPATION                                                                                                       ❑ FOOD SERVICES
        ❑ OTHER.(3PECIFI~                                                                                                             ❑ COMMISSARY

    GRIEVANCE                 (IF ADDITIONAL SPACE IS NEEDED,ATTACH A SEPARATE SHEET OF PAPER)
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    MODULE OFC NAME/BADGE:~~~ ~/ 1'~'jz ~1                                                    .~.      /#   _.w!~' DATE/TIME: E ~~ `-~' ~ i `--'~ — ~ '~~~~ ~ ~--~
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    INMATES ACKNOWLEQGING SIGNATURE:       ,-~                                            ~ ,; ~ - '~~         ~'~, DATE/TIME:
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SHIFT SUPERVISORS SIGNATURE: _                                                                   _              _                                 _./#              _           DATE/TIME:                             __ _
    INMATES ACKNOWLEDGING SIGNATURE:                                                                                                         DATE/TIME:

                                                            GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




    GHO SIGNATURE:                                                                                                            /#                              DATE/TIME:
    INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                          DATE7TIME:

                                          GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




    GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:                                                                                                         /#                               DATElTIM E:


    INMATES ACKNOWLEDGING SIGNATURE:                                                                                                              _          _ DATElTIME:
           Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 26 of 55 Page ID #:26

  SANTA ANA JAIL/NOTICE OF DISCIPLINARY HEARING AND ADVISEMENT OF CHARGES
          NOTIFICACION DE AUDENCIA DISCIPLINARIA Y AVISO DE CARGOS

Inmaces                                                                                                       P I/:                       BKG.N
Name/Nombre del
Rea                        t              ~ , ,.                   r' .;           ~~i



Charge/ Cargo                   Description/Description



     _..       _,               .-        ~~~         ,~          -.


3.

a.
~. Inmate placed on pre-disc status/fue puesto el reo                        ~ Inmate placed on 23-hour lockdown/fue el reo          ~ Other/
   bajo action disciplinaria                                                   encerrado por 23 horas o menos                          Otro

Narrative/Nazativo             ,. ,,:     ~ ~, .                              _.

                    ,- :                                                                  ~          ;.


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                                                                  ' ,:     ,._~J

Charging Officer/Official:                  ,.~~-                           Dace &'Time/Fecha y fiorario:                            '
                                                                                                                                     ' ' -'

Approving Supervisor/Supervisor                           I !. ,',`;                     Date &Tune/F~echa y Horario:            s            `   _

My signanue is no admission of guilt, but acknowledges that I have been advised of the charges and disciplinary status/ Al finnar este documen~o confirmo clue
fine aviso cuales son los cargos contra mi y que estoy en estado de disciplina pero no me estay declarando culpable.

Inmace Signature/Firma del Reo:                 ~. ;>J: . ,'"      ~          "'-~~-'`~.,~. Date & Time/`Fecha y Horario:                               }
                                      .
                                      ,                   y~
Delivering Officer/ Official                      . f
                                     F ~... ~ ` - '                                Date &Tune/ Fecha y Horario:               ''''                ''    _


                                      NOTICE OF DISCIPLINARY HEARING/ AVISO DE AUDENCIA DISCIPLINARIA

I have been advised of the above charges and am aware that my hearing is scheduled on/Se the a avisado cuales son los cargos contra mi y que mi auderia sera e
dia                ac/a las                and will be held in/ en el siguience local

Inma[e Signature/Firma del Reo:                                                               Date &Time/ Pecha y IIorario:

I wish to plead guilty to the above charges and waive my rights to a Disciplinary Hearing.~Yo deseo declararme culpable a los cargos y suspender mis derechos a
una audencia disciplinaria.

Inmate Signanue/Fim~a del Reo:                                                     Date &Time/ Fecha y Horatio:

I want to waive the 24-hour period given to me by law ~o prepare for my hearing and calk about the incident involving the charges today./Yo deseo susperndcr la
24 horas que ~engo pot ley para prepararme pars mi audenua y quiero hablar con el Oficial de las Audencias hoy so6re mis ca~os.

Inmate Signanue/Firma del Reo:                                                     Date &Time/Fecha y Horario: _                      _

GHO Signature:                                                  Da[e &Time/ Fecha y Horatio: __

If during the course of the hearing you wish co have witnesses concaaed please advise the Hearing Officer of the names of those individuals./Si durance el torso
de su audencia desea tenet presence algun testigo a su favor, avisle al Oficial de las Auc{encias.

If she irunate is on a behavioral contract for she above charges, violate them on the contract, do not pre-disupline.




While Cnnv GHn                                     Yellow Coov: Forward wi(h /ncident report                                                      Pink Coov: /mm~te
         Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 27 of 55 Page ID #:27
                                                                                                                                       G.I.#:
                                       SANTA ANA JAIL -INMATE GRIEVANCE FORM                                                                       o~._(~,_~      ;-
        DATE/TIME GRIEVANCE RECEIVED: _                                  __/__         _ REVIEWING OFFICER NAMEIBADGE#: __________._ _______ _ __
 INMATES NAME: ~-~              '~ J~ ~:       i~ ~ _ = i ~ i' -~                           DATEITIME: ' ~~                l "1
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            MEDICAL CARE                                                                         ❑ TELEPHONE USAGE
        ❑ CLASSIFICATION ACTION                                                                  ❑ MAIL
        ❑ DISCIPLINARY ACTION                                                                    ❑ VISITING
        ❑ PROGRAM PARTICIPATION                                                                  ❑ FOOD SERVICES
        ❑ OTHER (SPECIFIC                                                                        ❑ COMMISSARY
  FifEVANCE           (IF ADDITIONAL SPACE IS NEEDED, ATTACH.A SEPARATE SHEET OF PAPER)
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INMATES ACKNOWLEQGING SIGNATURE:               ,'                            --r     ~""""~    .,~      DATE/TIME: ;~>. / C;. I ~? p~
                                                             SHIFT SUPERVISORS RESPONSE AND/OR ACTION




SHIFT'SUPERVISORS SIGNATURE:                                                                                 /# __                _ DATE/TIME: _________ ___
INMATES ACKNOWLEDGING SIGNATURE:                                                                       DATE/TIME:
                                       GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:                                          _              _                   /# _                      _ DATE/TIME: __                           __ ___
INMATES ACKNOWLEDGING SIGNATURE:                                                                                         DATE/TIME:
                           GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:                                            _______                _ /p                             DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE:                                                                                         DATE/TIME:
                 Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 28 of 55 Page ID --.,
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                                                 SANTA ANA JAIL -INMATE GRIEVANCE FORM
         DATE/TIME GRIEVANCE RECEIVED:                                                  —__/                                REVIEWING OFFICER NAME/BADGE#:                                                         ____________
INMATES NAME: ~-~.~l _ _~                               ~ --~~~ F- f. ~                                           _           DATE/TIME: _'- _3 ~ rj ~ j 1 ~ '< < ;~,7;~v~
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BOOKING #: ~' ~ r ~ ~~--~ ~- ~~ ~                                                 P#        ~        ~ ~=' ~ ~                  HOUSING LOCATION:
           SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
                    MEDICAL CARE                                                                                                                 ❑ TELEPHONE USAGE
          ❑ CLASSIFICATION ACTION                                                                                                                ❑ MAIL
          ❑ DISCIPLINARY ACTION                                                                                                                  ❑ VISITING
          ❑ PROGRAM PARTICIPATION                                                                                                                ❑ FOOD SERVICES
          Q OTHER (SPECIFIn                                                                                                                      ❑ COMMISSARY

G IEVANCE                           (IF ADDITIONAL SPACE IS NEEDED, A                                        ACH A SEPARATE SHEET OF PAPER)
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                                SHIFT SUP RVISORS RESPONSE AND/OR ACTION




SHIFT SUPERVISORS SIGNATURE:                                              __________                                                     _               ____/#                                  DATE/TIME: ____
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                    DATE/TIME:                                                                               _.

                                                   GRIEVANCE-AND HEARING OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:                                         ____                                                      ________—/# _ ___                           _______ _ _. DATE/TIME:
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                               DATE/TIME

                                           GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE: _                                                       __._ .______                            _._ ___._ /#               ____ __ ___—_                _ DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE: ___                                                                                                                                     _. DATE/TIME:                        _—__                 _____~_-___
                 Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 29 of 55 Page ID #:29
                                                                                             `'~~.                             G.i.#: ~~ ~'~
                                       SANTA ANA JAIL -INMATE GRIEVANCE FORM
            DATFJTIME GRIEVANCE RECEIVED: _                   _/        REVIEWING OFFICER NAME/BADGE#:
 INMATES NAME: Ic ;:. ~~~~~ ~-~7 ;~Z ~~ r ° ~ 1c-rt                       DATE/TIME: . ~         ~~ - z ;.:>       ~i ~ r ;:~ ~- ~:
 BOOKING #:            ~ ~,r"^ 7 7~ ~                 P # ~~ ' ~~"'~      HOUSING LOCATION: `"~~ ` ~(                         - `j
             SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
             Q MEDICAL CARE                                                   ❑ TELEPHONE USAGE
             ❑ CLASSIFICATION ACTION                                          ❑ MAIL
             ❑ DISCIPLINARY ACTION                                            ❑ VISITING
             ❑ PROGRAM PARTICIPATION                               -          ❑ FOOD SERVICES
            ❑ OTHER (SPECIFIC                                                 ❑ COMMISSARY
 GRIEVANCE                 (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE SHEET OF PAPER)
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 INMATES SIGNATURE                                                               DATE/TIME:                                                          J______ ____
                                                 • MODULE OFFICERS RESPONSE AND OR ACTION




MODULE OFC NAME/BADGE:    ~-~• ~ ~__. - _         _ /# -~~`~~ DATE/TIME: _ ~ ' Fes`'~~"~~                                                  ___,______ _ ___ __
INMATES ACKNOWLEDGING SIGNATURE: ~, _. ~:•
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                                SHIFT SU ERVISORS RESPONSE AND/OR ACTION

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SHIFT SUPERVISORS SIGNATURE:                                                                /#                              DATElTIME:
I NMATES ACKNOWLEDGING SIGNATURE:                                                DATE/TIME:
                                       GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:                                        _                  /#            __                DATE/TIME: _
I NMATES ACKNOWLEDGING SIGNATURE:                                                                        DATE/TIME:
                                 GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:                                                   /#                               DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE:                                                           ~___ DATE/TIME:
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 30 of 55 Page ID #:30
                                                    SANTA ANA JAIL -INMATE GRIEVANCE FORM
       DATE/TIME GRIEVANCE RECEIVED:                                                               /            _REVIEWING OFFICER NAME/BADGE#:
 NMATES NAME: ~:E, n.f, L'~                                     ~ : ''~~i --                                                            ,,~ ~.,r _ ,.. ,,_—____—__—__.___._
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        SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
               MEDICAL CARE                                                                                                                  ~ TELEPHONE USAGE
        ❑ CLASSIFICATION ACTION                                                                                                              ❑ MAIL
        ❑ DISCIPLINARY ACTION                                                                                                                ❑ VISITING
        ❑ PROGRAM PARTICIPATION                                                                                                              ❑ FOOD SERVICES
        ❑ OTHER (SPECIFIC                                                                                                                    ❑ COMMISSARY

GRIEVANCE
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                                 (IF ADDITIONAL~SPACE IS NEEDED, ATTACH,A SEPARATE SHEET OF PAPER)                                                                                                        t
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SHIFT SUPERVISORS SIGNATURE: __                                                                                                                   __ /# _                         ______ DATE/TIME:
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                  DATE/TIME:
                                                      GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:                                                                                                                  /#                                         DATE/TIME:
INMATES ACKNOWLEDGING SIGNATURE: _                                                                                                                                         DATE/TIME:

                                        GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE: ___                                                   __:___                                        ___ /# ___                  _ ______—__ DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                           DATE/TIME:                            _.___________ ______
             Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 31 of 55 Page ID #:31

                          NAPHCARE MEDICAL DEPARTMENT                                                Date and Time Received ` ~teceived By
                     SICK CALL REQUEST-MANAGED BY TECHCARE                                           r~f~,,,,~ ~;_ , ~ ~ :~; :.,~~       ~`~~,,~
 Name(Nombr~)
          "                                       Date of Birth         Location/Unit           Inmate Number         Toda~s Date
  i          r i'
  `-~ tJ~t!t                                      (Fecha de Nacimiento) (Posicion/Unidad)       (Numero de Recluso) i (Fecha de Hoy)
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Complaint(Queja)
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                                                                                           Inmate Signature (Firma de Recluso)


 ~,,,       Action a Refer to Provider-Sick Call; C Refer to MH'- Sfck Call;    C Refer MH - CharC Review
            Taken ❑Refer to Medical Records; ~ Referto OBJGXN;                  ❑ RefertoDentaf
                   G Refer to Optometry;          C~ Nursing Protocaf initiated G Other.

Face to Face date                              Face to Face Time              Staff Signature


Nursing
S:



O:                                 Temp                 Pulse                 Resp                  02 Sat         i B/P
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Nurses /Provider Signature                                                      Date Completed                 Time Completed



                                                                   For Jail Use Only




Jan 2019                                                  White —Chart    Canary— Inmate                            Sick Call Request — Bi Lingual
       Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 32 of 55 Page ID #:32

                     NAPHCARE MEDICAL DEPARTMENT                                        Date end Time Rereiaed" Received By
                SICK CALL REQUEST—MANAGED BY TECHCARE
 Name(Nombre)                    Qate of Birth         Location/Unit    Inmafe Number         Toda~s Date
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        " ' `.,'                (Fecha de Nacimiento) (Posicion/Unidad) (Numero de Recluso) i (Fecha de Hoy)
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 Complaint(Queja) ,~                                                                                                                     ~~

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                                                                           Inmate Signature (Firma de Recluso)
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 ~ Action C~ Refer do provider— Sick Lall; ❑Refer#o MH —Sick Call;       Ci Refer t MH —Chart Review
 q Taken ~ Refer to Medical Records; ~! Refer'to OBjGYN;                 C Refer to Dental
 ~        ❑ Refer to Optometry;            C~ Nursing Protocol initiaked G Other:
Fate to Face Qate             Face toFace Time             :Staff Signature


N ursing
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`Nurses./Provider Signature                                    Date Completed '                      Time Completed


                                                   For Jail Use Only




pan 1u1y                                  White —Chart   Canary —Inmate                                      Sick Call Request — Bi Lingual
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 33 of 55 Page
                                                                                 G.I.#: ID #:33
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                                                SANTA ANA JAIL -INMATE GRIEVANCE FO
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              DATEIfIME GRIEVANCE RECEIVED:
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      INMATES NAME:                                                                                                                                                               __________
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         ❑ CLASSIFICATION ACTION
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         ❑ DISCIPLINARY ACTION
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     GRIEVANCE     (IF ADDITIONAL SPACE IS NEEDED,ATTA
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 INMATES ACKNOWLEDGING SIGNATUR                                                                                                                                        __,__ __ __ __
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                                  GRIEVANCE AND HEARING SUPERVIS
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GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:
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INMATES ACKNOWLEDGING SIGNATURE:
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              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 34 of 55G.I.#
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                                                                            -INMATE GRIEVANCE FORM                                                                                                                                     -~-~-4J
                                                            SANTA ANA JAIL
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     SECTION 1: CHECK THE BOX NEXT TO THE INFO
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     INMATES ACKNOWLEDGING SIGNATUR
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                                                      GRIEVANCE AND HEARING SUPERVISORS




     GRIEVANCE AND HEARING
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     SUPERVISOR SIGNATURE:


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     INMATES ACKNOWLEDGING SIGNATURE:
          Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 35 of 55 Page
                                                                              i  ID #:35


                                                                                          SANTA ANA JAIL                                                                                                       ~ ~' "
                                                                                               INMATE REQUEST FORM
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 BOOKING # / NUMERO DE PRESO #:                                                                ~ -'~           ,- r ' ~ _ JID#: P- _,.' r                                                .= -     __ CELL # / CL.LDA ~k:                   _'_ _

 LAST,FIRST NAME / APELLIDO,PRIMER NOMBRE                                                                                   1~~~ ~- ~ ~       "~`                 ~`-             ~` '~`'' ~~'

 MODULE /MODULO: 3A ❑ 3B ❑ 3C ❑ 3D ❑ 4A ❑                                                                                                     4B ❑                  4C ~<~] 4D ❑                      4F. ❑             DH 1 ❑       UI-I~ ❑

 NOTE: For Jail issue exchange brim items ro the officer for inspection. Only worn out items will be exchan~~ed.(Si pine intercambio
 do articulos, presente articulos al official Para inspeccionarlos. Solo articulos danados seran rccmplazados.

 NATURE OF REQUEST / ASUNTO,PL'fICION !                                                                                                                       ~                                                    .,
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 ACCEPTED / APROBADO [~`                                                                  DENIEll / NEGADO ❑
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                                         MODULE OFFICER UNABI I+ '1'O OMPI FTF REQUEST,}I'ORWARD TO

PROPERTY/ VnUL'T#                                         ❑                               CL.ASSIPICATION                                 U                                                 SECURITY              [~
RECORDS                                                   ❑                               PROGRAMS                                        ❑                                                  MAIL
SHIFT SLJPrRVISOR                                         ❑                               SPECIAL PROJECT'S ❑                                             ~                                 OTHER:

WHAT ACTION TAKEN / RESOLUCION:




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OFFICER SIGNATURL-;                                                BADGE #                                            INIVIATE'S,SIGNATURE / F1RMn                                                              DATL;/ FECItA

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                                             8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 36 of 55 Page ID #:36
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                                                                   SANTA ANA JAIL -INMATE GRIEVANCE FORM
              DATElfIME GRIEVANCE RECEIVED: _                                                                    __/                         REVIEWING OFFICER NAME/BADGE#:
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                        SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION
                                                                         WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT
                                                                                                                      OR GRIEVANCE
                                    MEDICAL CARE                                                                                                              ❑ TELEPHONE USAGE
                        ❑ CLASSIFICATION ACTION                                                                                                               ❑ MAIL
                        ❑ DISCIPLINARY ACTION                                                                                                                 ❑ VISITING                                                     '°~'~'
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         GRIEVANCE                            (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE SHEET OF
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        GHO SIGNATURE ` tl ~ _ - ~                                                     ~ ~'
        INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                                                                             _,       ,
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                                                    GRIEVANCE ANA HEARING                                                                OR MANAGER'S REVIEW OR RESPONSE




    GRIEVANCE AND HEARING
   SUPERVISOR SIGNATURE:                                                                                                                     /#_                __       _               _DATEJTIME: ____

   INMATES ACKNOWLEDGING SIGNATURE:
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            Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 37 of 55 Page ID #:37
                                                                                                                                                                                                           G.I.#:

                                              SANTA ANA JAIL -INMATE GRIEVANCE FORM
     DATE~TIME GRIEVANCE RECEIVED:                                                              _/                   _REVIEWING OFFICER NAME/BADGE#:                                                                          _
INMATES NAME: ~'-~"~~Al~                           1 ;"~-~ } ~~~ Y                                                        DATElTIME: ~ ..- ~ ~:l   `~ i~tr-s~                                                       —          -

BOOKING #: ~" I ' ~,'% ~ '~ ( ~ `:                                                    P # -'           ~.r ~ (                          HOUSING LOCATION
     SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
     ~ MEDICAL CARE
     [                                                           ❑ TELEPHONE USAGE
      ❑ CLASSIFICATION ACTION                                                                              '"~                                 ❑ MAIL
      ❑ DISCIPLINARY ACTION                                                                                                                    ❑ VISITING
      ❑ PROGRAM PARTICIPATION                                                                                                                  ❑ FOOD SERVICES
      ❑ OTHER (SPECIFIC                                                                                                                        ❑ COMMISSARY

G131EVANCE                  (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE SHEET OF PAPER)
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Sf~t~F SUPERVISORS SIGNATURE:                                       ~                                                1_ ~                    ~ ~L~._/# __                                              DATE/TIME: _ _                   __
 INMATES ACKNOWLEDGING SIGNATURE:                                                       ''             ~ ~ ~ - .~ -- ~                                   DATE/TIME:                                                           ~.       __

                                              GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




 GHO SIGNATURE:                                                 __                                                                      /#                                   DATE/TIM E:
 INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                            DATE/TIM E:

                                      GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




 GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:                                                                                                                   /#--       -----------DATE/TIME: --


INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                           __       ___ DATE/TIME:
          Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 38 of 55 Page ID #:38

                     NAPHCARE MEDICAL DEPARTMENT                                                                                oa (a~r►d dime gec~ivgd~. ttece~ fed By
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                SICK CALL REQUEST-MANAGED BY TECHCARE                                                                            ~... ~ ~r ~~ ~~C3 ~ ~ ~ ~~,~ ~
 Name (Nombre)                                              Date of Birth                 Location/Unit                     Inma e Nu ber                        ~ Today~s Date (Edad)
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 Complaint (Enfermedad)
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 w        Action 1=~ Refer to Provider —Sick Call; ~~ Refer to MH —Sick Call;    i ~i Refer t M H —Chart Review
 a        Taken C~ Refer to Medi~alRecards;           Refer to 0B/GYN;           !~ Refer to Dental
 ~               ~ defer to Optometry              -~ Nursing protocol Initiated C'~ Other.

Face fo Face Rate                               Face to Fact Ti~nef                          staff Signature                              _
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Nursing                               ~
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Nurses / Prt~vider Signature                                                                       Date Completed                                Time C~rtrpleted


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Jan 2019                                                              White —Chart       Canary —Inmate                                                Sick Call Request — Bi Lingual
             Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 39 of 55 Page ID #:39
                      NAPHCARE MEDICAL DEPARTMENT                                                     Date and time tteceived' Rec'' d;By
                 SICK CALL REQUEST-MANAGED BY TECHCARE                                                  '~ ~ ~~ ~ ~,
  Name(Nombre)                                  Date of Birth         Location/Unit                 Inmate Number         Toda~s Date
          ~~
  ~
  ' ~ " '~ ~                                    (Fecha de Nacimiento) (Posicion/Unidad)             (Numero de Recluso) ~ (Fecha de Hoy)


  Complaint(Queja)
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     Actfan ' Q Refer to Provider SEck Ca}I; Q Refer to MH                       ck Call;    l, C Refer~to MH —Chart Review
     Taken p Refer t4 Medical'Records; ~ Refer to OB                             J;          -0 Refer to Dental `'
  ~-          ❑Refer to Optometry;           ~7 Nursing Rro                      t )ntia ed ❑Other:
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 Nurses /Provider Signature              '~ I                                    Date Completed                     Time Completed

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 Jan 2019                                                  White —Chart   Canary —Inmate                              Sick Call Request—Bi Lingual
           Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 40 of 55 Page ID #:40

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                NAPHCARE MEDICAL DEPARTMENT
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           SICK CALL REQUEST-MANAGED BY TECHCARE
                                                                       Location/Unit                                  Inmate Number       ~ Toda~s Date
Name(Nombre)                                     Date of Birth
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                                               Refer to MH —Sick Call;     ❑Refer to MH —Chart Review
  ,,~ Action ~ Refet'to Provider —Sick ll; C
                                               Refert~ OB/GYN;             ❑ Refer to Dental
Q Taken ❑Referta Medical Records; C
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a            ~ Refer to Optometry;          C~ Nursing.°Protocol Initiated C`.Other:

                              face to Face Time              Staff Signature
Face to Face Date


 Nursing                                            ~
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                                                                                             Canary —Inmate                                 Sick Call Request — Bi Lingual
   Ian 2019                                                       White —Chart
         Case
           ~~_..`      8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 41 of 55 Page ID #:41
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                                            SANTA ANA JAIL -INMATE GRIEVANCE FORM
              DATElTIME GRIEVANCE RECEIVED: _
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     I NMATES NAME: k_~.           '~'`' ~ ~ r      ~1
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     BOOKING #:             ~ "" ~ ~ ~ ~ ~                               P # '-'~ ~ `~' ~ ~ HOUSING LOCATION: ~~~~' '
              SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION
                                                               WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT
                                                                                                            OR GRIEVANCE
                 MEDICAL CARE
                                                                                                                                             ❑ TELEPHONE USAGE
          ❑ CLASSIFICATION ACTION
                                                                                                                                             ❑ MAIL
          ❑ DISCIPLINARY ACTION
                                                                                                                                             ❑ VISITING
          ❑ PROGRAM PARTICIPATION
                                                                                                                                             ❑ FOOD SERVICES
          ❑ OTHER (SPECIFY)
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    G13,IEVANCE             (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPAR
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    INMATES SIGNA~URE
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                                                                       MODULE OFFICERS RESPONSE AND OR ACTION
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    MODULE OFC NAME/BADGE: _  ~ .•~> -''~._ _                                                                 /# `~'"`"~`" `'~ DATE/TIME: _ t                         ~'' `'~'                               _ ___
    INMATES ACKNOWLEDGING SIGNATURE ".;                                               ', - , ~-                                                                                     :~
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                                    ~~ ~~             SHIFT SUPERVISORS RESPONSE AND/OR ACTION
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                               GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S
                                                                              REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:


INMATES ACKNOWLEDGING SIGNATURE:
                                                                                                                                                                   DATE/TIME: __
                Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 42 of 55 Page ID #:42
                                                                                                                                                                                                                 G.I.#:

                                               SANTA ANA JAIL -INMATE GRIEVANCE FORM
       DATElTIME GRIEVANCE RECEIVED: _                                                            _/                           REVIEWING OFFICER NAME/BADGE#:
INMATES NAME. 1! ~~ '4 ~                                        ~--               -_—                                 —                DATE/TIME: ! ~ `~ , ; ~                                                   - -       ------_- --
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        SECTION 1: CHECK THE BOX NEXT TO THE INFORMATION WHICH MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
                 MEDICAL CARE                                                                                                                        ❑ TELEPHONE USAGE
        ❑ CLASSIFICATION ACTION                                                                                                                      ❑ MAIL
        ❑ DISCIPLINARY ACTION                                                                                                                        ❑ VISITING
        ❑ PROGRAM PARTICIPATION                                                                                                                      ❑ FOOD SERVICES
        Q OTHER (SPECIFIC                                                                                                                            ❑ COMMISSARY

GRIEVANCE                    (IF ADDITIONAL SPACE IS NEEDED, ATTACH A SEPARATE
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MODULE OFC NAME/BADGE            ~~'~~                                                                             d "`~#
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INMATES ACKNOWLEDGING SIGNATURE: '~.                                                                        DArtE/TIME:
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                                                                                 SHIFT SUPERVISORS RESPONSE AND/OR ACTION




SHIFT SUPERVISORS SIGNATURE:                                                         _                                                                                ___/# ____                           __ DATE/TIME:                        _____,_._ ___
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                             DATE/TIME:

                                                          GRIEVANCE AND HEARING OFFICERS RESPONSE AND/OR ACTION




GHO SIGNATURE:.                                                                                                                        /# _                                                 DATE/TIME:                                        ______ ___
.INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                                           DATElTIME:

                                  GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE: _                                                                        __              _               __ /# ____                          .,            __._ DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE: _                                                                                                                                                          DATE/TIME:                                               ___..__
       Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 43 of 55 Page ID #:43

                    NAPHCARE MEDICAL DEPARTMENT                                                                                   oatE and time ~teceived tteceived;sy
               SICK CALL REQUEST-MANAGED BYTECHCARE                                                                            ' ~,~ -~~~1~'~c~~~,                             ~,..~'
Name(Nombre)                                      Date of Birth         Location/Unit    Inmate Number                                                      Today's Date (Edad)
 ~~~~~llu~,.~..~~r ~ t_7~!Z                      (Fecha de Nacimiento) (Posicion/Unidad) (Recluso numero)                                                   '


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Complaint(Enfermedad)                                                                                          ~- /r-         ~
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,,,   Action ~ Refer to Provider -Sick Ca11; ❑ Refer to MH -Sick Cali;     ~ Refer MN -Chart Review
a     Taken ~` Refer to Medical Records; '~ 'Re€erta C18JGYN;              ' ~ Refer to Dental
~            ~ Refer to Optometry;           ~I Nursing Protocof Initiated ~ Qther.

Face to Face Date                          Face to Face Yime                                      Staff Signature


Nursing
S:


O:                        Temp                                  Pulse                             Resp                        02 Sat             B/P

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Nurses J Provider Signat~,re                                                                               Date Completed                       lime Completed

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Jan 2019                                                           White -Chart               Canary -Inmate                                     Sick Call Request - Bi Lingual
        Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 44 of 55 Page ID #:44

         TA ANA JAIL/NOTICE OF DISCIPLINARY HEARING AND ADVISEMENT OF CHARGES
              NOTIFICACION DE AUDENCIA DISCIPLINARIA Y AVISO DE CARGOS

Inmates                                                                                                 P N:                            BKG.N
Name/Nombre del                                                                                                s~         -




Charge/ Cargo                  Description/Description
                     w




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3.

4.
     Inmate placed on pre-disc status/fue puesco el reo                  ~ Inmate placed on 23-hour lockdown/fue el reo              ~ Other/
     bajo action disciplinaria                                             encerraclo por 23 horas o menos                             Otro                  __   _ __
                                     ,,,    .-              .. _                   ;,   c..   __ r~                                                      ~
Nurative/Narativo         jJ                                                                            '~ ~ '/r' ..;~           —     ~'7~~'i,-     c
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Charging Officer/Oficial: Q ~~-t'~ ~',_.~~=~~                        Date & T'ime/Fecha y Horario:        ~ ~'~~     ~ C7 U J
                                                                                                                            rG~'O

Approving Supervisor/Supervisor            ~_ ,^ (\i "~~~ (. ~`} ~j ~ etc       Date &Time/Fecha y Horario: ! ~ ~ ~' ~ I ~''~ ~ ~'~ ~" t~

My signature is no admission of guilt, but acknowledges that I have been advised of the charges and disciplinary status/ Al fim~ar este documen~o confirmo que s
me aviso cuales son los cargos con mi y que estoy en estado de disci; ~lina pero no me estoy declarando culpable.
                                                                                                                       i
Inmate Signature/Firma del Reo~~ .~          ~      ~~~:~              ~ Date &"fime/'Fecha y Hoiario: ~ 1 ~~~~' ~ ~ `~           ~,~L~Ca~

Delivering Officer/ Official : —           r~ ~^~-
                                               ~~                           Dat: &'Time/ Fecha y Horatio:        . 1 ~ ~~ 1


                                      NOTICE OF DISCIPLINARY HEARING/ AVISO DE AUDENCIA DISCIPLINARIA

I have been advised of the above charges and am aware that my hearing is scheduled on/Se me a avisado cuales son los cargos contra mi y que mi audmaa sera el
dia                at/a las                and will be held in/ en el siguiente local

Inmate Signa~ure/Firma del Reo:                                                     Dace &Time/ Fecha y Horatio:

I wish to plead guilty to the above charges and waive my righu to a Disdplinary Hearing.~Yo deseo declararme culpable a los cargos y suspender mis der~chos a
una audencia disciplinaria.

Inmate Signanue/Firma del Reo:                                               Dace & T'ime/ Fecha y Horatio:

I wane co waive the 24-hour period given co me b laav"to prepaze for my hearing and talk about the inciden~ involving the chuges today./Yo deseo suspernder la<.
24 horas que tengo pot ley paza preparanne ra~cm audencia y quiero hablar con el Oficial de las Audenci~s hoy soFre mis cargos.

Inma~e Signature/Firma el Rea.                   .'~"t           '.~~-      Date &Time/Fecha y Horaria

GHO Signa~ure:                   _                          Da[e &Time/ Fecha y Horatio:       ( !              `~    ~~~'~F'!

If during the course of the hearing you wish to have witnesses contacted please advise the Hearing Officer of the names of those individuals./Si durance el cures
de su audencia desea tenet presente algun testigo a su favor, avisle al Oficial de las Audencias.

If the inmate is on a behavioral conuaa for the above charges, violate them on the contract, do not pre-discipline




Wlriro ~'nm~ r;Nn                                Yellow Cnnv: Forward wi(h /ncident report                                                      Pink Cop1~ Imm~te
          Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 45 of 55 Page ID #:45
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                     NAPHCARE MEDICAL DEPARTMENT                                                                                 Date and Time Received                       Received By
                SICK CALL REQUEST-MANAGED BY TECHCARE                                                                              ~ ~i ~ ; ~ ~               '~;~, ,'t              ~~ ~ ~~~
 Name(Nombre)                                            Date of Birth        Location/Unit                                    Inmate Number                     ~ Today's Date (Edad)
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                  r ~~                                  (Fecha de Nacimiento) (Position/Unidad)                                (Recluso numero~


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 w       Action U Refer to Provider— Sick Call; J Refer to MH —Sick Call;     '~ Refer to N►H--Chart Review
 c7
 a       Taken ='
                ~ , Refer to Modica! Re oafs,' _1 Refer to OB/GYN;            ~ Refer to Dental
 ~              ❑ Refer to Opt~me ry;             Nursing Protocol .initiated ~l Other.
Face to Face Date                             Face to Face Time                                 Staff Signature .'
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Jan 2019                                                             White —Chart           Canary —Inmate                                        Sick Call Request — Bi Lingual
           Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 46 of 55 Page ID #:46

                          NAPHCARE MEDICAL DEPARTMENT                                                                              Date and Time Received                    Received By
                     SICK CALL REQUEST-MANAGED BYTECHCARE                                                                              ;~,'~ ~G( i '~~~,;                            ANC"
 Name(Nombre)                                         Date of Birth         Location/Unit                                     Inmate Number                       Today's Date (Edad)
 ~-. G I~l'~`t ~~                                     (Fecha de Nacimiento) (Position/Unidad)                                 (Recluso numero)


 Complaint(Enfermedad)
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                                                                                                                      Inmate Signature (Recluso firma)
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 w        Action C? Refer to Prov~tler -Sick Call; i Refer to~Ml~Vf-Sick Call;     ~ Ref~~to MH -Chart Review ' ~
 Q        Taken ^~ Refer to Medical Records; ~ Refer to OBJGYN; ;                '; '. Refer to Dentaf
 ~               ❑ Refer to Optometry;            C~ Nursing Protocol Initiated i Other.
Face to Face t3ate                             Face to Face Time                                 Staff 'gnature


N ursing
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O:                             Temp                             Pulse               ;            Resp                             02 Sat               B/P



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Jan 2019                                                            White —Chart            Canary —Inmate                                             Sick Call Request — Bi Lingual
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 47 of 55 Page ID #:47
                                                                                                                                                                                                                 G.I.#:
                                                              SANTA ANA JAIL -INMATE GRIEVANCE FORM                                                                                                                           .
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         DATFJTIME GRIEVANCE RECEIVED:                                                                                    /                     REVIEWING OFFICER NAME/BADGE#: ______    _,
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INMAITES NAME: ~;" i:: ~ ~f ~I? c, ~" t i t                                              ~ = (~ C- r~                                            _ DATE/TIME: ~ _
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          acv i ivn i s Winton ~ rtt ttux rvtx i I U I hE INFORMATION WHICFf`MOST CLEARLY IDENTIFIES YOUR COMPLAINT OR GRIEVANCE
          Q MEDICAL CARE                                                                                                                                   ~ TELEPHONE USAGE
          ❑ CLASSIFICATION ACTION                                                                                                                           ❑ MAIL
          ❑ DISCIPLINARY ACTION                                                                                                                            ❑ VISITING
          ❑ PROGRAM PARTICIPATION                                                                                                                          ❑ FOOD SERVICES
         ❑ OTHER (SPECIFY)                                                                                                                                 ❑ COMMISSARY
GRIEVANCE                                  (IF ADDITIONAL SPACE IS NEEDED, ATTACH.A SEPARATE SHEET OF PAPER)
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INMATES SIGNATURE^
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MODULE OFC NAME/BADGE:. ~!   -' ~?. t"r;~ .                                                                        /# ~~ ~~ ~ t- ~'DATE/TIME• r~ - ~ ~~~ ~ i~ ~
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SHIFT SUPERVISORS SIGNATURE:                                                                                       ~ . ~~ ,:
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I NMATES ACKNOWLEDGING SIGNATURE:,.                                                                                    `~~~ -~'~ ~ ~~\                            DATE/TIME: i                                  _.:...Y:.~.

                                                                GRIEVANCE AND HFr4R1NG OFFICERS RESPONSE AND/OR ACTION
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GHO SIGNATURE:                                                                 _                _                  ___                       _/# _.__.____                                   DATE/TIME:
INMATES ACKNOWLEDGING SIGNATURE:                                                                                                                                                             DATE/TIME:
                                                   GRIEVANCE AND HEARING SUPERVISORS OR MANAGER'S REVIEW OR RESPONSE




GRIEVANCE AND HEARING
SUPERVISOR SIGNATURE:                                                                                                                              /#                                        DATE/TIME:


INMATES ACKNOWLEDGING SIGNATURE:
              Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 48 of 55 Page ID #:48

                       NAPHCARE MEDICAL DEPARTMENT                                                                                         Date :and. ime Received          Received By
                  SICK CALL REQUEST-MANAGED BY TECHCARE                                                                                        ''                    ~.-                    ;-.
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 Name(Nombre)                                                Date of Birth         Location/Unit                                         In ate N J m. er    i Toda~s Date
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 Complaint(Queja)                              r                                   ,,                                      ,
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 ,,,,,       Action '~ Refer tc~ Provider— Sick Call; ~' Referto MH =Sick Call;    G Refer IVIH —Chart Review
 q           Taken ~' Refer to Medica{ Recprds; ❑ Refer to OB/GYN;                 C Refer to Dent{
 ~ ..               ~ Refer to ~ptom~try;             ~ Nursing Protocol Initiated ❑Other:
Face to Face Date                                  Face to Face Time                                  Staff Signature


Nursing
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O:                                 Temp                             Pulse                             Resp                                02 Sat      B/P




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Nurses /Provider Signature                                                                   '~           Date C mpleted                            Time Completed



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Jan 2019                                                               White —Chart               Canary —Inmate                                     Sick Call Request — Bi Lingual
        Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 49 of 55 Page ID #:49

                  NAPHCARE MEDICAL DEPARTMENT                                                                    aa~e'and Tirne~~es~ed I~~c ;` ec[~~y~~
             SICK CALL REQUEST-MANAGED BY TECHCARE                                                                    ~ ~`,'7   ~      r- ~~_,_ ~~

 Name(Nombre)                              Date of Birth         Location/Unit     Inmate Number         Today's Date
  ",~ ~~ "~ ~ r '` '~                      (Fecha de Nacimiento) (Posicion/Unidad) (Numero de Recluso) ~ (Fecha de Hoy)
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Complaint(Queja)
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 ~  Action ~~~ Referto Provider—Sick Call; [~ Referto MH''--Sick Call;      C Refer tic; MH —Chart Review
 Q  Taken ~ Refer to Medico#'Records; ~~~ Refer to OB/GYN;               ` (~ Refer to Dental
               Refer to O'ptornetry;        t~ Nursing Protocol Initiated C~ Other;~~~
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Fac t Face'Date               Pace to.~ace Time             Staff Signature     `.~ `~'~'
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Nursing
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Nurses /Provider Signature                                                             Date Completed                         Time Completed
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             Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 50 of 55 Page ID #:50

                     NAPHCARE MEDICAL DEPARTMENT                                                                                 Date and Time Received Received By
                SICK CALL REQUEST-MANAGED BY TECHCARE
  Name(Nombre)                                           Date of Birth         Location/Unit    Inmate Number         Today's Date
   K'~ r~i ~~ L_T `~ ~                                  (Fecha de Nacimiento) (Posicion/Unidad) (Numero de Recluso) ~ (Fecha de Hoy)


 Complaint(Queja)
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 ,,,    Action C Refer to Provider.:- Sick Call; C '' Refer to MH -Sick Call,  C Refer ~ MH--Chart Review
 Q      Taken ~ Refer to Medical Reeords; ❑ Refer to OBfGYN;                  C1 Refer to Dental
 N             ~ R~fe~tfl optometry;             0 Nursing Protocol Initiated l~ Other.
 Face to Face Mate                                  fate to Face time                       Staff Signature


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Nurses / Prr~vider Signature                                                                   Date Ca plet d '                         Time Completed

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Jan 2019                                                           White —Chart           Canary-Inmate                                   Sick Call Request — Bi Lingual
~.      . .~Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 51 of 55 Page ID #:51

                  NAPHCARE MEDICAL DEPARTMENT                                                      Date and Time Received 'Received By
             SICK CALL REQUEST-MANAGED BY TECHCARE                                                          ,~.
 Name(Nombre)                             Date of Birth         Location/Unit    Inmate Number         Toda~s Date
 (.,~ c ~`~J ~1L~ ~~                     (Fecha de Nacimiento) (Position/Unidad) (Numero de Recluso) ; (Fecha de Hoy)
               ~                                  ~, . ~~                                         ~               ~~~ -73
 Complaint(Queja)
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 ,,,,   ACtian d Refer to Provirier -Sick Call; ~ Refer to MH =Sick Call;    C' Refe~o M H —Chart Review
  Q     Taken ~ Referto Medical-~Recards; ❑ Refer to OB/GYN;                 C~ Refer to Dental
 ~~..          D Refer to Optometry;            D Nursing Protocol Initiated C Other.
 Face to Face Date                   Face to Face Time                  ..Staff Signature


Nursing
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Nurses /Provider 5ig~ature                                                 t}ate Complete                          Time Completed
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Jan 2019                                           White —Chart       Canary —Inmate                                    Sick Call Request — Bi Lingual
                 Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 52 of 55 Page ID #:52
             ~''"          NAPHCARE MEDICAL DEPARTMENT                                                                          bate and Tirr►e ~eceiwed Received By
                      SICK CALL REQUEST-MANAGED BY TECHCARE
                                                                                                                                                                      ~'
   Name (Nombre)                                   Date of Birth                         Location/Unit                    Inmate Number         Toda~s Date
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   Complaint (Queja)
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  u,,  Action (~ Refer to Provid~2r-Sick Call; G Refer to MH
                                                              -:Sick Call;    C~ Refer ta.,~1H —Chart Review
  q    Tatcen ❑ Refer to Medical Records; ❑ Refer to OB/GY
                                                                 N;          C~ Refer to Dental
  M            C~ Refef to optometry;          G Nursing Proto~eol Initiated ❑Other:
  dace to Face date             Face to Face Time              Staff Signature


 Nursing
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Nurses /Provider Signature'
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Jan 2019                                                    White -Chart               Canary -Inmate                                     Sick Call Request - Bi Lingual
         Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 53 of 55 Page ID #:53

                       NAPHCARE MEDICAL DEPARTMENT                                                       Da an Time Received                  R   eived By
                  SICK CALL REQUEST-MANAGED BY TECHCARE                                                        ~~                                  "r
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    Name(Npmbre)                         Date of Birth          Location/Unit                         Inmat Nu ber               Today's Date (Edad)
     "i` ~,((~1 ~~ ~-~                   (Fecha de Nacimiento) (Posicion/Unidad)                      (Recluso numero)
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 Complaint(Enfermedad) ~~.,,                         r                         ;~
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 w      Action ~ Refer to Provider -Sick Call; I-i Refer to MH -Sick Call;      ~ Refer   ' H -Chart Review
 Q      Taken ~ Refer to Medical Records;        1 Referto OB/GYIJ;'         ' ~ Refer t D~nLal
 ~             ~, Refer to Optometry;          =I Nursing Protocol Init' ted ~ I Otkre~:
 Face to Face Date                   Fact d Face Time                     Sta S'r afar
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N urses/ Provider Signature                                                   Date Cornpleted~~                  time Corr►pleted
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Jan 2019                                          White —Chart       Canary —Inmate                                Sick Call Request — Bi Lingual
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             Case 8:20-cv-00603-MWF-KK Document 1 Filed 03/26/20 Page 54 of 55 Page ID #:54
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